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12   Attorneys for Plaintiff LUIS
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13
                            UNITED STATES DISTRICT COURT
14
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15
16
17   LUIS LORENZO VARGAS,                         Case No. 2:16-cv-08684-SVW-AFM

18                          Plaintiff, PLAINTIFF’S REPLY IN
                                       FURTHER SUPPORT OF
19            v.                       MOTION IN LIMINE NUMBER
                                       THREE TO EXCLUDE EVIDENCE
20                                     OF PLAINTIFF’S IMMIGRATION
     CITY OF LOS ANGELES; LOS          STATUS
21   ANGELES POLICE
     DEPARTMENT; COUNTY OF LOS HON. STEPHEN V. WILSON
22   ANGELES; OFFICE OF THE LOS
     ANGELES DISTRICT ATTORNEY; CTRM 10A
23   LOS ANGELES SHERIFF’S
     DEPARTMENT; MONICA                Hearing Date:    June 10, 2019
24   QUIJANO; RICHARD TAMEZ;
     SCOTT SMITH; AND DOES 1-10                         1:30 pm
25   INCLUSIVE,                        Complaint Filed: November 12, 2016
                                       Trial Date:      June 25, 2016
26                       Defendants.

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      Mr. Vargas’s Reply in Support of Motion
Case 2:16-cv-08684-SVW-AFM Document 213 Filed 05/27/19 Page 2 of 3 Page ID #:5742




 1         TO THIS COURT, ALL PARTIES, AND THEIR COUNSEL OF
 2   RECORD, PLEASE TAKE NOTICE THAT Plaintiff LUIS LORENZO VARGAS,
 3   by and through his counsel, hereby submits this Reply in Further Support of Plaintiff’s
 4   Motion in Limine Number Three to Exclude Evidence of Plaintiff’s Immigration
 5   Status.
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      Mr. Vargas’s Reply in Support of Motion
Case 2:16-cv-08684-SVW-AFM Document 213 Filed 05/27/19 Page 3 of 3 Page ID #:5743




 1   I.    REPLY
 2         Defendants do not oppose Plaintiff’s Motion in Limine Number Three. See Dkt.

 3   No. 201. Therefore, the Motion should be granted in full based on the argument

 4   Plaintiff set forth in the Motion, meaning that no evidence, mention, nor testimony

 5   shall be introduced at trial concerning Plaintiff’s immigration status.

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     DATED: May 24, 2019                          LAW OFFICES OF JAN STIGLITZ
 9
                                                  /s/ Jan Stiglitz
10                                                Jan Stiglitz, Esq.
11                                                Attorney for Plaintiff
                                                  Luis Lorenzo Vargas
12   DATED: May 24, 2019                          BOON LAW
13                                                /s/ Brett A. Boon
14                                                Brett A. Boon, Esq.
                                                  Attorney for Plaintiff
15                                                Luis Lorenzo Vargas

16   DATED: May 24, 2019                          BENNER LAW FIRM
17                                                /s/ Craig S. Benner
18                                                Craig S. Benner, Esq.
                                                  Attorney for Plaintiff
19                                                Luis Lorenzo Vargas
20   DATED: May 24, 2019                          ALEXANDER J. SIMPSON, ESQ.
21                                                /s/ Alexander J. Simpson
                                                  Attorney for Plaintiff
22                                                Luis Lorenzo Vargas
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      Mr. Vargas’s Reply in Support of Motion
